Case 2:O4-cr-20223-.]P|\/| Document 120 Filed 08/29/05 Page 1 of 2 Page|D 202

IN THE UNITED STATES DISTRICT COURT "'" ‘ "'
FOR TI-IE WESTERN DISTRICT OF TENNESSEE

 

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Plaintiff, i\"§"ii‘ 53 jift:=
v. No. 04-20223_13
RoBERT PRINCE,
Defendant.

 

ORDER GRANTING DEFENDANT ROBERT PRINCE III’S
MOTION FOR CONTINUANCE OF TRIAL SETT[NG AND
WAIVER OF APPEARANCE FOR AUGUST 29, 2005

 

On August 26, 2005 , the defendant, Robert Prince, filed a motion for a continuance of
the trial setting and waiver of appearance of counsel and defendant for the report date currently
set for August 29. The request is based on the receipt from the government of several CDs
containing thousands of pages of materials which counsel has not reviewed. She further
indicates she will discuss with opposing counsel a proposed trial date and advise the Court.
The government faxed a notice of opposition to Defendant’s motion to this Court’s chambers
late Friday afternoon After a review of the motion and response, the Court finds that
Defendant’s motion should be granted.

Accordingly, the Court GRANTS the defendant’s motion to continue and sets the trial
date for the October rotation, with a report date of September 26, 2005, at 9:30 a.m. Time will
be excluded under the Speedy Trial Act.

IT IS SO ORDERED this quday ofAugust, 2005.

 

. DANIEL BREEN \
D STATES DISTRICT .TUDGE

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 120 in
case 2:04-CR-20223 was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

